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My name is Bill Orme, and I am addressing the court in my private capacity as a member of
the public, because I believe that this Chapter 11 proceeding concerns matters of public
interest that are atypical of a commercial bankruptcy case, including public access to
what should be public amenities in a publicly funded and maintained public park.

As a neighborhood resident for more than 30 years, I was closely engaged with the park
planning process and once the park was being built with the organization of public boating
programs there. I was also an appointed member of the Brooklyn Bridge Park Community
Advisory Council when the marina contract was ﬁrst discussed and awarded by the Park
Corporation a decade ago, chairing discussions about the RFP bids and plans.

I am also a co-founder of and remain an active volunteer in the nonproﬁt Brooklyn Bridge
Park Boathouse free public kayaking program, which is operated independently by unpaid
volunteers, without ﬁnancial support from the Park Corporation or Park Conservancy. We
buy and maintain our boats and equipment ourselves. More than six thousand people go
kayaking with us every summer, the majority of them from our great home borough of
Brooklyn, of all ages, and from every part of Brooklyn. And they don’t pay a penny.

A petition from the Boathouse volunteers calling for a fresh look at the use and
management of the marina facility has been endorsed by hundreds of local people who
are regular visitors to the park and supporters of community boating programs:

https://www.change.org/p/make-the-brooklyn-bridge-park-marina-more-than-a-yacht-
parking-lot-run-by-a-pe-
ﬁrm?utm_medium=custom_url&utm_source=share_petition&recruited_by_id=eb8e01a0-
a043-11ef-b98b-2d04a4b1977d

To quote from that petition:

       Park o'icials and nonproﬁt groups operating kayaking and sailing programs in the
       park originally sought to ensure that the marina would feature free or low-cost public
       boating activities as well as docking facilities for luxury yachts. Under the terms of
       the Park contract awarding the lease to build and run the new marina, the owner-
       operators agreed to provide a modest two percent of their annual gross revenues for
       “community boating programs,” as well as a signiﬁcant allocation of dock space, but
       neither the ﬁnancial nor non-ﬁnancial obligations were ever fulﬁlled. […]

       While the bankruptcy court process has a duty to look out for creditors and do its
       best to get stakeholders repaid, we believe the Park and local o'icials have an
       opportunity to leverage this legal process and potential future relationship with the
       marina’s next owner to imagine something better and more community oriented in a
       collaborative way.
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Financial records released in these bankruptcy proceedings show that this facility has been
operating virtually rent-free for the past decade as an exclusive private marina for luxury
yachts with an expensive members-only for-proﬁt sailing club, without its originally
promised budgetary support for and public access to free or aZordable marina-subsidized
'community boating' activities.

The Brooklyn Bridge Park Corporation, a public entity, is by far the largest of the
company's named creditors in the Chapter 11 proceedings, with acknowledged debts of
more than $500,000 in unpaid lease fees, and total debts perhaps exceeding $800,000.

The original commitments from the marina contract bidders included ﬁnancial support and
publicly accessible dock space for free inexpensive sailing and kayaking programs. The
company’s contractually obligated contribution of two percent of gross revenue for low-
cost or no-cost ‘community boating programs’ would have translated into upwards of
$30,000 or $40,000 yearly, helping us pay for safety training for volunteers, and enabling us
to expand our summer evening schedules and daytime youth programs and add more
boats to our small kayak ﬂeet.

The marina company publicized that 2% pledge in meetings with community groups and on
its website and in statements to the local press. But it never followed through.

Those funds could have also provided further sailing training opportunities for the Brooklyn
public high schools who learned basic sailing skills in the small plywood skiZs that they
built during the school year with the nonproﬁt Brooklyn Boatworks. Instead, the park
created an exclusive members-only sailing club aimed at aZluent people with prior sailing
experience who can aZord to pay $2000 to $3000 for a summer membership.

There is no public access of any kind to the marina, a private facility in a public space.

The bankruptcy presents what may be a one-time opportunity to re-envision the marina
facility's purpose and governance, putting a priority on public use and access. There has
been almost no public discussion or media coverage of this issue, potentially leaving the
marina's fate and future management and mission in the hands of the private investment
ﬁrms that are submitting low 'stalking horse' bids for the marina's assets.

The bankruptcy ﬁling conﬁrmed a few things about the current marina operation:

1) The 'One15 Brooklyn Bridge Park Marina' company never honored its
contractually obligated and publicly promoted commitment to provide both ﬁnancial and
in-kind support and signiﬁcant dock space for free or low-cost public-access 'community
boating' activities, such as youth sailing and kayaking instruction programs;
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2) The wholly commercial private for-proﬁt model for the Bridge Park marina, predicated on
fees from transient megayachts and longer-term local dock tenants, was shown to be
economically unsustainable, in part because the marina, by design, for
appropriate environmental reasons in a public park, lacks the fueling and sewage and
provisioning facilities many boat owners say they need and expect in a commercial marina;

3) The Park Corporation generously agreed to forego its contractually stipulated $300,000
annually in lease fees when the marina company confronted unanticipated major repairs -
such as the expensive replacement of its outer ‘wave attenuating' ﬂoating barrier- and
closures from the Covid pandemic. Yet when the marina resumed regular operations three
summer seasons ago, it still didn’t pay the Park, which is now by far the bankrupt marina
company’s largest creditor (the $516,000 listed as owed to the Park Corporation in the
bankruptcy ﬁling does not include $300,000 owed from the just-concluded 2024 season.)

4) Despite not receiving its anticipated $300,000 per annum from its marina lessee over the
past decade, the Park Corporation's ﬁnances and operations were not signiﬁcantly
aZected, as those marina revenues never would have represented more than a small
fraction of the overall continuing income from commercial retail, oZice, hotel and
residential properties and businesses which pay PILOT fees to the Park. Manifestly, the
Park Corporation didn't and doesn't need the income from a private marina, which is good,
because the ten-year experience of this venture shows that a marina business in that
space is unlikely ever to be proﬁtably viable. Nor is it an optimal use of a publicly
maintained open waterfront space which should serve the general public.

Before the Chapter 11 process concludes, the Park Corporation should meet with area
elected representatives and community stakeholders to consider alternative nonproﬁt
structures for the management and perhaps physical reconﬁguration of marina facilities.

We should prioritize public access and aZordable public uses, as originally envisioned and
stipulated in the Park's marina RFP. A good ﬁrst step would be a public conversation about
the marina's future convened by the Board of the Brooklyn Bridge Park Corporation.

And the Federal Bankruptcy Court, for its part, should take into account the interests of the
thousands of members of the New York public who visit the park every day and deserve
more free or low-cost boating opportunities. This is not just a private matter.

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Bill Orme
18 Cranberry Street
Brooklyn NY 11201

bill.orme@gmail.com
